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         ATTACHMENT 1
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  8:19 - 8:21          White, Michael 2022-07-19                                     00:00:04   White_8.1
                       8:19           Could you state your name for the
                       8:20           record, please?
                       8:21      A. Michael Dennis White.
 11:23 - 11:25         White, Michael 2022-07-19                                     00:00:07   White_8.2
                       11:23          Mr. White, you were previously
                       11:24          the chief executive oﬀicer for DIRECTV,
                       11:25          right?
 12:02 - 12:08         White, Michael 2022-07-19                                     00:00:20   White_8.3
                       12:02     A. Yes, that's correct.
                       12:03    Q. And you started in that role in
                       12:04          January 2010?
                       12:05     A. Yes.
                       12:06    Q. And you ended that role in July
                       12:07          2015, is that right?
                       12:08     A. I think it was early August 2015.
 52:13 - 52:16         White, Michael 2022-07-19                                     00:00:17   White_8.4
                       52:13    Q. Do you recall DIRECTV doing any
                       52:14          sort of analysis or studies regarding the
                       52:15          optimal price point to maximize revenue for
                       52:16          Sunday Ticket at this time?
 52:20 - 53:03         White, Michael 2022-07-19                                     00:00:26   White_8.5
                       52:20     A. I don't recall the specifics. We
                       52:21          analyzed a lot of things for all of our
                       52:22          products. I have no doubt we did analysis
                       52:23          and attempted to estimate subscriber
                       52:24          revenues from the NFL Sunday Ticket product
                       52:25          as we were looking at it and even as we
                       53:01
                       53:02          were modeling it for the new contract
                       53:03          later.
 53:12 - 53:15         White, Michael 2022-07-19                                     00:00:14   White_8.6
                       53:12          Was there any concern that the
                       53:13          NFL would not be okay with going below a
                       53:14          certain price point as part of this
                       53:15          promotion in 2012?
 53:18 - 53:23         White, Michael 2022-07-19                                     00:00:18   White_8.7
                       53:18     A. Yeah, I mean, our pricing

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                    53:19          decisions were solely made by DIRECTV. To
                    53:20          be clear, we were always clear on that, and
                    53:21          I don't recall any discussions with the NFL
                    53:22          about a lower price point or not. I just
                    53:23          don't recall.
 56:08 - 56:17      White, Michael 2022-07-19                                     00:00:25   White_8.8
                    56:08    Q. Is it possible that the pricing
                    56:09          decisions made by DIRECTV were presented to
                    56:10          the NFL?
                    56:11     A. Again, my recollection of those
                    56:12          meetings is that we shared with the NFL
                    56:13          once a year what our upcoming plans for
                    56:14          promotions and for the marketing of the
                    56:15          product, more broadly, but I don't recall
                    56:16          the specifics and I'd have to -- show me a
                    56:17          document.
 56:18 - 56:21      White, Michael 2022-07-19                                     00:00:09   White_8.9
                    56:18          But that would have been
                    56:19          informative. In other words, we were
                    56:20          informing the NFL these are our marketing
                    56:21          plans for the upcoming season.
178:06 - 178:09     White, Michael 2022-07-19                                     00:00:11   White_8.10
                    178:06         Did the retail-level prices that
                    178:07         DIRECTV would charge to consumers play any
                    178:08         role in the negotiations with the NFL for
                    178:09         the 2014 renewal?
178:11 - 179:02     White, Michael 2022-07-19                                     00:00:40   White_8.11
                    178:11 A. No. I don't believe so. I mean,
                    178:12         you know, everybody's entitled to their
                    178:13         opinion about what a product should cost or
                    178:14         be priced at. But in the end, it was a
                    178:15         DIRECTV decision and we made our judgments
                    178:16         as we went along.
                    178:17         But you know, folks could say you
                    178:18         should charge a higher price and you'd get
                    178:19         just as many subscribers or not.
                    178:20         Everyone's entitled to a diﬀerent point of
                    178:21         view.
                    178:22         But our judgment was simply we

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                    178:23         had the appropriate pricing, you know,
                    178:24         trying to optimize the volume and the price
                    178:25         relative to what we were losing in terms of
                    179:01
                    179:02         profits on the product.
192:04 - 192:10     White, Michael 2022-07-19                                     00:00:18   White_8.12
                    192:04         It sounds like you were -- is it
                    192:05         fair to say you were proud of the oﬀerings
                    192:06         from DIRECTV?
                    192:07 A. I was very proud of the company,
                    192:08         the people, the brand, the ethics and the
                    192:09         quality of the customer service that we
                    192:10         provided, absolutely.
192:18 - 195:02     White, Michael 2022-07-19                                     00:02:31   White_8.13
                    192:18 Q. Did DIRECTV also have broad reach
                    192:19         to customers across the United States?
                    192:20 A. Yes, because we were a
                    192:21         satellite-provided signal, we could pretty
                    192:22         much reach the entire at least Continental
                    192:23         United States.
                    192:24 Q. And is that something that
                    192:25         diﬀerentiated DIRECTV from other broadcast
                    193:01
                    193:02         providers?
                    193:03 A. Yes. I mean, Dish also had a
                    193:04         national service, but versus the cable
                    193:05         companies, they tended to have very
                    193:06         localized footprints, you know, depending
                    193:07         on where they went, it was all cut up in
                    193:08         diﬀerent ways. But for us, we prided
                    193:09         ourselves on having a national service that
                    193:10         we were able to oﬀer to customers all
                    193:11         across the United States.
                    193:12 Q. Now, turning to Sunday Ticket,
                    193:13         was Sunday Ticket a product that you were
                    193:14         proud of during your tenure as CEO of
                    193:15         DIRECTV?
                    193:16 A. I was very proud of the product
                    193:17         and the innovations that we brought to
                    193:18         Sunday Ticket while I was CEO of DIRECTV.

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                    193:19 Q. And so let's talk about those
                    193:20         innovations. At one point I think you
                    193:21         testified in response to Mr. Gore that
                    193:22         DIRECTV made substantial investments in
                    193:23         engineering and so ware to provide a
                    193:24         better Sunday Ticket product.
                    193:25         Do you recall saying that?
                    194:01
                    194:02 A. Yes.
                    194:03 Q. And can you just generally
                    194:04         describe what you meant by that?
                    194:05 A. Well, certainly we completely
                    194:06         redid the user interface on the product to
                    194:07         make it easier, faster to change channels
                    194:08         or change games. We provided more
                    194:09         information on the same web page where you
                    194:10         could look at what other scores were going
                    194:11         on at the same time. We tried to make it
                    194:12         as good a product for the football
                    194:13         customers that we had as we could and we
                    194:14         worked hard on that.
                    194:15         I think we also tested a 4K
                    194:16         product which had a much better high
                    194:17         definition. We innovated in making it
                    194:18         available on mobile devices early on, ahead
                    194:19         of our competition, and we felt we provided
                    194:20         world class customer service in the event
                    194:21         there were issues or problems.
                    194:22 Q. And all of those investments, I
                    194:23         assume it cost DIRECTV tens of millions of
                    194:24         dollars over time or hundreds of millions
                    194:25         of dollars to make those investments, is
                    195:01
                    195:02         that fair?
195:04 - 195:04     White, Michael 2022-07-19                                     00:00:01   White_8.14
                    195:04 A. Yes.
196:14 - 196:17     White, Michael 2022-07-19                                     00:00:13   White_8.15
                    196:14 Q. And were these innovations, were
                    196:15         they part of what DIRECTV believed was an
                    196:16         appeal to the NFL in terms of why the NFL

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                    196:17         should renew its agreement with DIRECTV?
196:19 - 197:02     White, Michael 2022-07-19                                     00:00:17   White_8.16
                    196:19 A. Not really, no. I would say
                    196:20         every time we looked at an innovation, we
                    196:21         didn't look at them for the NFL. We would
                    196:22         look at them for the NFL ticket subscribers
                    196:23         and potential new subscribers that would
                    196:24         have an interest in the product. It was
                    196:25         always looked at through the lens of the
                    197:01
                    197:02         customer.
206:14 - 206:23     White, Michael 2022-07-19                                     00:00:26   White_8.17
                    206:14 Q. And in terms of pricing, do you
                    206:15         recall various discussions about pricing
                    206:16         and we saw diﬀerent tiers and $199 and
                    206:17         $299? Do you recall that?
                    206:18 A. Yes.
                    206:19 Q. And I think you stated this
                    206:20         several times, but just to be clear, is it
                    206:21         accurate to say that the dollar amount that
                    206:22         was decided upon was in DIRECTV's sole
                    206:23         discretion?
206:25 - 207:02     White, Michael 2022-07-19                                     00:00:05   White_8.18
                    206:25 A. Yes, it was in our sole
                    207:01
                    207:02         discretion to make decisions on pricing.
215:10 - 215:16     White, Michael 2022-07-19                                     00:00:17   White_8.19
                    215:10         Sunday Ticket was always a choice for
                    215:11         DIRECTV consumers, correct?
                    215:12 A. Yes, correct, to pay for it, yes.
                    215:13 Q. Right. No one was forced to pay
                    215:14         for the Sunday Ticket package, it was
                    215:15         always an option and a choice for a
                    215:16         subscriber?
215:18 - 215:23     White, Michael 2022-07-19                                     00:00:14   White_8.20
                    215:18 A. Yes. So yes, they -- as a new
                    215:19         subscriber, they might have gotten 30 days
                    215:20         for free or something, but in terms of
                    215:21         paying it was always an option that a

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                215:22         customer could choose or not choose to
                215:23         carry.




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